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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

______________________________
CHARLES SINGLETARY,            )
                               )
      Plaintiff,               )
                               )
v.                             )              Civil Action No. 09-0752 (ABJ)
                               )              Pretrial Conference: 11/28/2011
DISTRICT OF COLUMBIA,         )
                               )
      Defendant.              )
______________________________)

                 THE DISTRICT OF COLUMBIA’S MOTION IN LIMINE

           Defendant District of Columbia, pursuant to Fed. R. Civ. P. 7 and 16, hereby moves

this Honorable Court to exclude the following at trial:

       1. All testimony, evidence, and argument related to Plaintiff’s lost wages;

       2. All testimony, evidence, and argument related to Singletary’s medical treatment

           during his incarceration;

       3. All testimony, evidence, and argument related to any pain, suffering, or other injuries

           of Plaintiff’s children, spouse, friends, or family; and

       4. All testimony and evidence that is cumulative.

       As explained in the attached Memorandum of Points and Authorities, the requested relief

is necessary to avoid tainting the trial of this matter with unduly prejudicial and inadmissible

evidence. A draft order is also submitted herewith.

       WHEREFORE, for the foregoing reasons, the District of Columbia moves this Honorable

Court to grant this motion.
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                              Respectfully Submitted,

                              IRVIN B. NATHAN
                              Attorney General for the District of Columbia

                              GEORGE C. VALENTINE
                              Deputy Attorney General, Civil Litigation Division

                              ELIZABETH SARAH GERE
                              Assistant Deputy Attorney General, Civil Litigation Division

                              /s/ Stephanie E. Litos
                              STEPHANIE E. LITOS
                              D.C. Bar No. 483164
                              DWAYNE C. JEFFERSON
                              D.C. Bar No. 980813
                              Assistant Attorneys General
                              One Judiciary Square
                              441 4th St., N.W., 6th Floor South
                              Washington, D.C. 20001
                              (202) 724-6650; (202) 724-6649; (202) 741-0554 fax
                              stephanie.litos@dc.gov; dwayne.jefferson@dc.gov


                                      Rule 7(m) Certificate

       Undersigned counsel hereby certifies that on November 4, 2011, I contacted Plaintiff’s

counsel regarding the relief requested herein. Plaintiff’s counsel opposes the motion.



                                             /s/ Stephanie E. Litos
                                             STEPHANIE E. LITOS
                                             Assistant Attorney General




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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

______________________________
CHARLES SINGLETARY,            )
                               )
      Plaintiff,               )
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v.                             )              Civil Action No. 09-0752 (ABJ)
                               )              Pretrial Conference: 11/28/2011
DISTRICT OF COLUMBIA,          )
                               )
      Defendant.               )
______________________________)


             THE DISTRICT OF COLUMBIA’S MEMORANDUM OF
       POINTS AND AUTHORITIES IN SUPPORT OF ITS MOTION IN LIMINE

       In support of its Motion in Limine, the District submits this Memorandum of Points and

Authorities.

                                  FACTUAL BACKGROUND

      This case stems from a sentence of nine to 27 years that was imposed on Plaintiff Charles

Singletary on November 29, 1983 by the Superior Court of the District of Columbia. See

Presentence Report, attached hereto as Exhibit A. The sentence related to two separate crimes:

on April 16, 1982, Occaie Gray stated that he was carjacked by two armed men who forced him

into the passenger seat of his vehicle, held a gun to his head, drove him to another location,

robbed him of $1032, and forced him out of the car. See id. Once out of the car, Gray was

forced to lie on the ground on his stomach and was shot three times—twice in the face, and once

in the hand. See id. Four days later, on April 20, 1982, another complainant, Kenneth Poteat,

stated that Singletary shot him in the arm after punching him in the face and chest. See id.

Singletary left the scene of the attack in a vehicle, which was pursued by a police officer

responding to the call. See id. Singletary attempted to evade the officer, eventually jumping out
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of the moving car with a gun in hand. See id. When the officer caught Singletary, the gun was

recovered and the police determined that Singletary’s vehicle was the stolen vehicle belonging to

Gray, the victim of the carjacking four days earlier. See id.

      Singletary was charged with kidnapping while armed and assault with a dangerous

weapon. At the time of these crimes, Singletary was on probation after pleading guilty to a

robbery that occurred on January 21, 1981. In that case, Singletary was accused of being one of

three men who held a man down, beat him, and stole $100 worth of items from him. See id.

Singletary admitted to the crime, stating that he and his friends were “getting high on reefer,”

that the man was walking in front of them but looked back at them several times, and “my buddy

fought him, as we all did.” See id. In addition, Singletary had been charged with Common

Assault, Failure to Pay Food Bill, and Resisting Arrest of Police Officer on September 10, 1979,

Attempted Burglary and Petit Larceny on January 26, 1981, and Destroying Property, Attempted

Unauthorized Use of a Vehicle, and Attempted Petit Larceny on March 20, 1982. See id.

      After pleading guilty to the charges of kidnapping while armed and assault with a

dangerous weapon, Singletary was sentenced to nine to 27 years in prison. Six years later, in

1990, Singletary was granted parole. Singletary states that after he was released on parole he

obtained a position as a barber at Brice’s Barber Shop in Washington, DC, where he worked

from 1990 until 1992. Deposition of Charles Singletary at 56:6-58:2 (attached hereto as Exhibit

B). Singletary states that while at Brice’s Barber Shop his income was “[m]aybe eight or nine

hundred maybe a week. Sometimes maybe less. I’m not sure.” Id. In 1992, Singletary left

Brice’s Barber Shop to work at Like That Barber Shop, where he worked until 1996. Id. at

58:16-61:7. While there, Singletary estimated his income as “[p]robably anywhere from eight

hundred dollars to maybe nine something or something to that effect.” Id. at 61:8-62:5. While



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employed at both Brice’s Barber Shop and Like That Barber Shop, Singletary did not file any tax

returns. See id. at 58:4-14, 62:6-9. Singletary then moved to South Carolina, where he obtained

a position as a home caretaker, earning an hourly rate that he estimated was minimum wage. See

id. at 66:7-71:13. While in South Carolina, Singletary also worked at a barber shop, estimating

that “you could make like maybe five to $700 maybe a week. . . something like that.” Id. at

72:16-74:3. Although he did not personally file taxes for the year he lived in South Carolina,

Singletary believed that his sister may have filed a return for him in relation to his home

caretaker position. See id. at 74:10-76:2. Singletary did not have a copy of this return, and

stated his sister did not have a copy either. See id.

      While on parole, Singletary was arrested several times. In 1992, Singletary was charged

with the first degree murder of his first wife, Mary, and charges were reinstated on June 10,

1993. See Parole Determination Record (attached hereto as Exhibit C). According to

investigators in the case, Mary Singletary had been stabbed 37 times. See Affidavit of Peter

Zeidenberg at ¶ 2 (attached hereto as Exhibit D). A revocation decision was made to reinstate

Singletary’s parole on August 26, 1993 after the charges were dropped, see Ex. C, Parole

Determination Record, but Singletary was again arrested, and charges of first degree murder

were reinstated on August 9, 1994. Singletary’s parole subsequently was reinstated on March 7,

1995. Id; see also Warrant No. PE-30135-96 (attached hereto as Exhibit E). Additionally, on

March 6, 1993, Singletary was arrested for Assault with a Dangerous Weapon, Threats, and

Possession of an Unregistered Firearm. The charges were no papered the next day and the

charges of having a Concealed Deadly Weapon were dismissed on June 9, 1993. Id.

      On August 16, 1995, Singletary was arrested for the murder of Leroy Houtman, which was

alleged to have occurred on April 18, 1995. See id.; see also Statement of Alleged Parole



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Violations (May 30, 1996) (attached hereto as Exhibit F). Houtman had been stabbed 51 times,

and Carmelita Metts, Houtman’s girlfriend, eventually confessed to two friends that she had

murdered him with the help of Singletary and Gary Barnes. See Ex. C, Parole Determination

Record; see also Singletary v. Reilly, 452 F.3d 868, 870 (D.C. Cir. 2006); Ex. D, Zeidenberg Aff.

at ¶ 4. When questioned by police, Singletary denied knowing Barnes, but a subsequent search

of the residences of Singletary and Barnes unearthed photos reflecting Barnes serving as the best

man in Singletary’s wedding. 1 See Ex. D, Zeidenberg Aff. at ¶ 6-7; see also Singletary v. Reilly,

452 F.3d at 871. Much of the prosecution’s evidence in the Houtman case would have been

inadmissible at trial, and ultimately the government chose not to seek an indictment of

Singletary. Ex. D, Zeidenberg Aff. at ¶ 8; Singletary v. Reilly, 452 F.3d at 871. However, the

federal prosecutor requested that Singletary’s parole be revoked, which it was, on August 1,

1996. See Ex. D, Zeidenberg Aff. at ¶ 10; Notice of Board Order (Aug. 1, 1996) (attached hereto

as Exhibit H). The remainder of Singletary’s conviction was reinstated. See Ex. H, Notice of

Board Order. As a result of the revocation, Singletary alleges that he was wrongfully imprisoned

and spent the next ten years in prison. See Complaint ¶ 24.

       After filing several petitions for habeas corpus relief, Singletary was granted a new parole

revocation hearing, at which the United States Parole Commission found no parole violation and

reinstated Singletary to supervised release. 2 See Notice of Action (Nov. 17, 2006) (attached



1
  Gary Barnes is referred to as someone “likely to have discoverable information his [sic] lifelong
friendship with Mr. Singletary [and] Mr. Singletary’s life during the period 1991-1996 while he was free
on parole. . .” in Plaintiff’s Initial Disclosures. Plaintiff’s Initial Disclosures at 3 (attached hereto as
Exhibit G).
2
  The D.C. Parole Board is no longer in existence. In 1997, pursuant to the National Capital
Revitalization and Self-Government Improvement Act, Pub. L. 105-33, 111 Stat. 251, 734, the D.C.
Parole Board was abolished and its responsibilities were assumed by the United States Parole
Commission. See D.C. Code § 24-131; see also Crawford v. Jackson, 323 F.3d 123, 125-126 (D.C. Cir.
2003).
                                                      4
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hereto as Exhibit I). The United States Parole Commission’s order was issued on or about

November 17, 2006, and Singletary was released from prison shortly thereafter. See id.

      In May 2007, months after his release, Singletary was again arrested, charged with

Carrying a Pistol Without a License, Unlawful Possession of a Firearm, and Unlawful Possession

of Ammunition. See Docket, United States v. Singletary, 2007 CMD 011485; see also

Government’s Opp. to Defendant’s Mot. to Suppress at ¶ 5 (attached hereto as Exhibit J) (“police

officers had a valid warrant to search Nook’s Beauty and Barber Shop. The defendant [Charles

Singletary] identified himself as an employee of Nook’s Beauty and Barber Shop. The

defendant’s bag was located near one of the work stations at the barber shop. Defendant

indicated to officers that the bag belonged to him. Moreover, officers discovered the defendant’s

identification card inside of this bag. The firearm and ammunition were also found inside of the

very same bag.”). The charges were dismissed after the court ruled in Singletary’s favor on his

Motion to Suppress Evidence on Fifth Amendment Grounds. See Docket, 2007 CMD 011485;

see also Order Denying Defendant’s Motion to Seal Publicly-Available Records (attached hereto

as Exhibit K.)

       Singletary now brings this action against the District pursuant to 42 U.S.C. § 1983,

alleging that the D.C. Parole Board’s revocation of his parole in 1996 violated his Fifth

Amendment Due Process Rights, and demands judgment against the District in the amount of

$20 million. See Complaint, generally. This Court has ruled in Singletary’s favor on his Motion

for Partial Summary Judgment on the issue of liability. A jury trial on the issue of damages will

commence on December 6, 2011.




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                                        STANDARD OF REVIEW

        The purpose of a motion in limine is “to narrow the evidentiary issues at trial.” Williams

v. Johnson, 747 F. Supp. 2d 10, 14 (D.D.C. 2010). The Federal Rules of Evidence generally

permit the admission of relevant evidence, provided its probative value is not substantially

outweighed by its potential prejudicial effect. See id.; see also Fed. R. Evid. 403. The district

courts “are afforded broad discretion in rendering evidentiary rulings, a discretion which extends

to assessing the probative value of the proffered evidence and weighing any factors against

admissibility.” Williams, 747 F. Supp. 2d at 14 (citing Sprint/United Mgmt. Co. v. Mendelsohn,

552 U.S. 379, 384 (2008)).


                                            ARGUMENT

    I. Evidence of Plaintiff’s Lost Wages is Speculative and Inadmissible.

        All claims for damages must be supported by enough evidence to create a reasonable

basis from which to estimate the value of a party’s loss. Costa v. George, 1991 U.S. Dist.

LEXIS 1999 (D.D.C. July 12, 1991) (holding that a plaintiff’s claim for lost wages was

speculative); see also Hill v. Republic of Iraq, 328 F.3d 680, 684 (D.C. Cir. 2003) (“a plaintiff

may recover damages for past economic losses if such losses are reasonably proved.”).

Although damages are not required to be proven with mathematical certainty, they may not be

based merely on speculation or guesswork. See, e.g., Costa, 1991 U.S. Dist. LEXIS 1999 at *2.

        In his Rule 26(a) initial disclosures, Singletary states that he is seeking $330,000 in lost

income, which represents $55,000 a year for the first six years of his incarceration. In his initial

disclosures, Singletary also claims that he earned $55,000 a year as a barber in Washington, DC,

and earned “approximately the same amount” when he moved to South Carolina. See Ex. G,

Plaintiff’s Initial Disclosures at 9.


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        However, Singletary has absolutely no evidence to support this speculative figure. At his

deposition, Singletary testified that from 1990 through 1996, the time of his original parole, he

held four jobs: from 1990 through 1992 as a barber at Brice’s Barber Shop in Washington, DC;

from 1992 through 1996 as a barber at Like That Barber Shop; 3 and in 1996 as a home caretaker

with the Sumter County Special Needs Board and as a barber with Family Salon. Ex. B,

Singletary Dep. at 56:6-74:9. Singletary has provided no documentary evidence of his wages

while he was allegedly employed from 1990 through 1996, and has admitted that he did not file

any tax returns for the barber jobs he allegedly held. Id. at 58:4-14, 62:6-9, 74:10-76:2.

Although he believes his sister may have filed a tax return for his position with Sumter County

Special Needs Board, he does not have any proof of income or any tax return. Id. at 74:10-76:2.

The only evidence of any wages earned is Singletary’s deposition testimony, which is vague and

highly speculative. When asked about his wages at Brice’s Barber Shop, Singletary stated that

his income was “[m]aybe eight or nine hundred maybe a week. Sometimes maybe less. I’m not

sure.” Id. (emphasis added). Concerning his alleged income at the Like That Barber Shop,

Singletary was equally uncertain, testifying:

                          it really varies, because, you know, you have your
                          slow days and you have your good days. Say maybe
                          Monday through Wednesday or Thursday, you might
                          can make like 125 maybe or it depends, and maybe
                          Friday, Saturday and Sunday you make, like on a
                          Friday you might can make close to 250, maybe $300,
                          it depends. Saturday, likewise Sunday, you can make
                          almost like maybe $225 to $250.

Id. at 61:15-61:22 (emphasis added). When asked how much he made per week on average, he

responded “[p]robably somewhere from eight hundred dollars to maybe nine something or


3
  Although Singletary testified that he worked at Like That Barber Shop until his parole was revoked in 1996, he
later testified that he left Washington, DC and moved to South Carolina in December 1995, where he held two jobs.
See Ex. B at 61:3-7, 63:3-10. Thus, it is unclear if he ceased working at Like That Barber Shop in 1995 or 1996.

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something to that effect.” Id. at 62:3-5 (emphasis added). Singletary’s recollection of his

income in South Carolina was equally vague, stating that he didn’t remember how much he

earned, but that “I think we started off at minimum wages.” Id. at 71:2-6. At Family Salon,

Singletary could only testify that “you could make like maybe five to $700 maybe a week. . . .

Something like that.” Id. at 73:22-74:3 (emphasis added).

       The numbers provided by Singletary do not even approach the $55,000 a year figure he

claims to have earned. More important, his testimony is highly speculative and does not provide

a reasonable basis for any award of lost wages. Every answer Singletary provided regarding his

wages was equivocal and full of guesswork. The plaintiff bears the initial burden of establishing

the value of the lost salary and benefits. Barbour v. Merrill, 48 F.3d 1270, 1278 (D.C. Cir.

1995). Singletary has failed to meet his burden; at best he has a vague recollection of a wide

range of wages, rife with speculation, and with absolutely no evidence to support any income

amounts he has asserted. There can be no question that any claims regarding lost wages must be

excluded, as Singletary has failed to provide a reasonable basis upon which a jury can assess his

alleged lost wages damages.

   II. Evidence Regarding Medical Care and Treatment During Plaintiff’s Incarceration
       is Irrelevant and Not Supported by Expert Testimony.

       All evidence relating to medical care Singletary received while in prison should be

excluded. Singletary has argued that he became legally blind while incarcerated, see Complaint

at ¶ 27, and that the “loss of his eyesight was proximately caused by the revocation of his parole

and consequent imprisonment.” Id. at ¶ 28.

       Allegations relating to prison conditions “are subject to Eighth Amendment scrutiny.”

Stoddard v. District of Columbia, 764 F. Supp. 2d 213, 218 (D.C. Cir. 2011). Singletary has

never made any claims of Eight Amendment violations in this action. See Complaint, generally.

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Nor has this Court considered or granted such relief in response to Plaintiff’s Motion for Partial

Summary Judgment. See Plaintiff’s Memorandum in Opposition to Defendant’s Motion for

Summary Judgment and in Support of his Cross-Motion for Summary Judgment as to Liability

[Docket # 31]. This Court granted relief to Plaintiff based upon a deprivation of Fifth

Amendment due process. See August 1, 2011 Interlocutory Order [Docket # 41 at 1] (“This case

presents the question of whether the District of Columbia can be held liable under 42 U.S.C. §

1983 for a parole revocation decision made by the District of Columbia Board of Parole that

violated plaintiff’s right to due process under the Fifth Amendment of the U.S. Constitution.”)

Plaintiff should not be permitted to assert through the back door an Eighth Amendment claim for

deliberate indifference to medical need that he has never asserted, to which the District has never

been afforded an opportunity to respond, and upon which this Court did not base its liability

determination. As Singletary has failed to plead an Eighth Amendment violation, he cannot

recover for any alleged loss of eyesight that may have occurred due to the conditions of his

imprisonment. 4

         Regardless, even if Singletary had properly brought an Eighth Amendment claim, he has

not designated an expert to testify regarding his impaired eyesight. The cause of Singletary’s

glaucoma, the impact of medical treatment on his disease, and his subsequent vision impairment

are complicated medical questions that are not within the purview of the average layperson. As

such, expert testimony is necessary. See Fed. R. Evid. 701 (“If the witness is not testifying as an

expert, the witness’ testimony in the form of opinions or inferences is limited to those opinions

4
  To the extent Singletary had any complaints about any conditions of his confinement during his incarceration, the
Prison Litigation Reform Act (PLRA), 42 U.S.C. § 1997e, et seq., would have been applicable and required him to
exhaust his administrative remedies before bringing suit. The purpose of the PLRA is to give prison authorities
notice of problems in correctional facilities and an opportunity to resolve them pursuant to internal procedures prior
to litigation in court. Porter v. Nussle, 534 U.S. 516, 524-25 (2002). Singletary did not do so. Moreover, he has
made no claim related to the conditions of his confinement under the Eighth Amendment. See Complaint, generally.
Thus, if Singletary attempts to recover damages for any condition of his confinement, he should be barred from
doing so.

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or inferences which are . . . (c) not based on scientific, technical, or other specialized knowledge

within the scope of Rule 702.”); see also Godfrey v. Iverson, 559 F.3d 569, 572 (D.C. Cir. 2009)

(expert testimony is necessary when “the subject in question is so distinctly related to some

science, profession or occupation as to be beyond the ken of the average layperson”); Briggs v.

Washington Metropolitan Area Transit Auth., 481 F.3d 839, 845 (D.C. Cir. 2007) (expert

testimony is required when the subject matter is outside the knowledge of the average layperson,

but “no expert testimony is needed if the subject matter is within the realm of common

knowledge and everyday experience”). Without an expert, Singletary cannot succeed on any

claim that any impairment of his eyesight was proximately caused by any act or omission of the

District. Any evidence that Singletary may provide regarding the purported lack of medical care

he received for his eyes would therefore be irrelevant and serve no probative value, while being

highly prejudicial to the District, and should be excluded.

   III. Evidence of Pain, Suffering, or Other Injuries Sustained by Plaintiff’s Family and
        Friends is Irrelevant and Inadmissible.

       In his Initial Disclosures, Singletary has listed several family members and friends as

potential witnesses, including his mother, Rosa Culbreath, his ex-wife, Barbara Jean Singletary,

his brother, Perry Singletary, his children, Devon Floyd, Devante Floyd, Charles Singletary, Jr.,

and Tonniko Williams, and his daughter’s sister, Tiffany Williams Myran. Ex. G, Plaintiff’s

Initial Disclosures at 2-7. These are all third-party witnesses, none of whom has made any

personal claims against the District. Thus, any evidence these individuals may provide regarding

the impact of Singletary’s incarceration on them is wholly irrelevant to this proceeding and

should be excluded.




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    IV. Cumulative Evidence Should be Excluded

        A. Singletary’s Family Members.

        The testimony Singletary intends to offer from his family members is cumulative. In his

Initial Disclosures, Singletary states that:

    •   Rosa Culbreath “is likely to have discoverable information about how her son’s

        incarceration affected her son’s outlook and life;”

    •   Barbara Singletary “is likely to have discoverable information concerning her marriage to

        Mr. Singletary; their life together before his parole was revoked; the effect of Mr.

        Singletary’s incarceration on their marriage and on Mr. Singletary’s relationship with his

        children; and the effect on Mr. Singletary of being incarcerated;”

    •   Devon Floyd “is likely to have discoverable information concerning Mr. Singletary’s

        relationship with him before the revocation of Mr. Singletary’s parole and on the effect of

        the revocation on that relationship and on Mr. Singletary;”

    •   Devante Floyd “is likely to have discoverable information concerning Mr. Singletary’s

        relationship with him before the revocation of Mr. Singletary’s parole and on the effect of

        the revocation on that relationship and on Mr. Singletary;”

    •   Tiffany Williams Myran “is likely to have discoverable information concerning Mr.

        Singletary’s relationship with her before the revocation of Mr. Singletary’s parole and on

        the effect of the revocation on that relationship and on Mr. Singletary;”

    •   Charles Singletary, Jr. “is likely to have discoverable information concerning Mr.

        Singletary’s relationship with him before the revocation of Mr. Singletary’s parole and on

        the effect of the revocation on that relationship and on Mr. Singletary;” and




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   •   Tonniko Williams “is likely to have discoverable information concerning Mr.

       Singletary’s relationship with her before the revocation of Mr. Singletary’s parole and on

       the effect of the revocation on that relationship and on Mr. Singletary.”

   Ex. G, Plaintiff’s Initial Disclosures at 2, 5-7. The presentation of trial testimony on the

   same topic from seven witnesses will be a “needless presentation of cumulative evidence,”

   and, as such, will cause undue delay and prejudice to the District. See Fed. R. Evid. 403.

   Thus, in addition to barring Singletary’s witnesses from testifying regarding any personal

   impact of Singletary’s confinement, this Court should also limit the number of witnesses who

   will testify regarding the effect the parole revocation had on Singletary and his personal

   relationships.

       B. Singletary’s Fellow Inmates.

       Additionally, Singletary has named five fellow inmates—Gary Barnes, Kevin Johnson,

Lorenzo Roye, Robert Quick, and William Ward—who are offered to testify regarding the

conditions of their confinement. Ex. G, Plaintiff’s Initial Disclosures at 2-4. As argued in

Section II, supra, this testimony should be excluded as irrelevant and unduly prejudicial.

However, should the Court allow that testimony, it should limit the number of witnesses who can

testify regarding the conditions of Singletary’s confinement, as the testimony is cumulative, will

cause undue delay at trial, and will unfairly prejudice the District. See Fed. R. Evid. 403.

                                         CONCLUSION

       For the foregoing reasons, the District’s Motion in Limine should be granted.



                               Respectfully Submitted,

                               IRVIN B. NATHAN
                               Attorney General for the District of Columbia

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                GEORGE C. VALENTINE
                Deputy Attorney General, Civil Litigation Division

                ELIZABETH SARAH GERE
                Assistant Deputy Attorney General, Civil Litigation Division

                /s/ Stephanie E. Litos
                STEPHANIE E. LITOS
                D.C. Bar No. 483164
                DWAYNE C. JEFFERSON
                D.C. Bar No. 980813
                Assistant Attorneys General
                One Judiciary Square
                441 4th St., N.W., 6th Floor South
                Washington, D.C. 20001
                (202) 724-6650; (202) 724-6649; (202) 741-0554 fax
                stephanie.litos@dc.gov; dwayne.jefferson@dc.gov




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